Case 2:24-cv-08521-BRM-CLW       Document 31          Filed 09/13/24    Page 1 of 27 PageID: 303




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


  DAVID GONZALEZ,
                                             Plaintiff,

                    —against—

  BAM TRADING SERVICES, INC., d/b/a
  BINANCE US, a Delaware corporation;
  BINANCE HOLDINGS, LTD., d/b/a BINANCE, a                 Case No. 2:24-cv-08521-BRM-CLW
  foreign company;
  CHANGPENG ZHAO;
  JOHN DOES 1-100 (fictitious names); and
  XYZ CORP, INC. 1-100 (fictitious names),
                                       Defendants.

      OPPOSITION OF BINANCE HOLDINGS, LTD. AND CHANGPENG ZHAO TO
            PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION




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   September 13, 2024
Case 2:24-cv-08521-BRM-CLW                              Document 31                  Filed 09/13/24                Page 2 of 27 PageID: 304




                                                        TABLE OF CONTENTS

                                                                                                                                                  Page



  Introduction ......................................................................................................................................... 1

  Background.......................................................................................................................................... 2

  I.         Plaintiff’s Allegations .............................................................................................................. 2

  II.        Procedural Background............................................................................................................ 3

  Argument ............................................................................................................................................. 4

  I.         Plaintiff Fails to Clear the Threshold Hurdle of Establishing Personal Jurisdiction Over
             Mr. Zhao or BHL ..................................................................................................................... 4

             A.          Plaintiff Fails To Establish Personal Jurisdiction ...................................................... 5

             B.          Service Upon Mr. Zhao and BHL Was Improper...................................................... 9

             C.          Unsupported Alter Ego Allegations Cannot Resuscitate Plaintiff’s Deficient
                         Service Upon BHL .................................................................................................... 10

  II.        Plaintiff Fails to Show That He Is Likely to Suffer Irreparable Harm ............................... 13

  III.       Plaintiff Fails to Show He Is Likely to Succeed on Any of His Claims ............................. 16

             A.          Plaintiff Is Not Likely to Succeed on His RICO Claims......................................... 16

                         1.          Plaintiff Has Not Met RICO’s Causation Requirement.............................. 16

                         2.          The Complaint Fails to Allege a Distinct “Enterprise” .............................. 20

             B.          Plaintiff Is Not Likely to Succeed on His Conversion Claims ............................... 21

             C.          Plaintiff Is Not Likely to Succeed on His Unjust Enrichment Claims ................... 23

  IV.        An Injunction Risks Private Harm and Is Not in the Public Interest .................................. 24

  Conclusion .......................................................................................................................................... 26




                                                                              -i-
Case 2:24-cv-08521-BRM-CLW                          Document 31                  Filed 09/13/24           Page 3 of 27 PageID: 305




                                                  TABLE OF AUTHORITIES

                                                                                                                                   PAGE( S)

  CASES

  Anza v. Ideal Steel Supply Corp.,
         547 U.S. 451 (2006) ............................................................................................................... 16

  Argabright v. Rheem Manufacturing Co.,
        258 F. Supp. 3d 470 (D.N.J. 2017) ....................................................................................... 18

  Beacon Sales Acquisition, Inc. v. Board of Trustees,
        425 F. Supp. 3d 377 (D.N.J. 2019) ......................................................................................... 4

  Bennington Foods LLC v. St. Croix Renaissance Group,
        LLP, 528 F.3d 176 (3d Cir. 2008) ........................................................................................... 4

  Brittingham v. Mobil Corp.,
          943 F.2d 297 (3d Cir. 1991) .................................................................................................. 16

  Cafaro v. HMC International, LLC,
         No. 07-CV-2793, 2009 WL 1622825 (D.N.J. June 10, 2009) ............................................ 18

  Cargill Glob. Trading v. Applied Development Co.,
          706 F. Supp. 2d 563 (D.N.J. 2010) ....................................................................................... 17

  Carteret Savings Bank, FA v. Shushan,
         954 F.2d 141 (3d Cir. 1992..................................................................................................... 5

  Clemente v. Doe,
        No. 24-CV-314, 2024 WL 384713 (D.N.J. Feb. 1, 2024) ................................................... 12

  Daimler AG v. Bauman,
        571 U.S. 117 (2014) .............................................................................................................5, 6

  Dewey v. Volkswagen AG,
        558 F. Supp. 2d 505 (D.N.J. 2008) ......................................................................................... 9

  Dietz v. National City Mortgage Co.,
          No. 1:08-CV-1058, 2008 WL 2857722 (M.D. Pa. July 21, 2008)........................................ 7

  Digital Wholesale of New York, LLC v. American Eagle Trading Group, LLC,
          No. 16-CV-3487, 2016 WL 5660462 (D.N.J. Sept. 29, 2016)............................................ 17

  Eli Lilly & Co. v. Roussel Corp.,
          23 F. Supp. 2d 460 (D.N.J. 1998) ......................................................................................... 18



                                                                        - ii -
Case 2:24-cv-08521-BRM-CLW                          Document 31               Filed 09/13/24              Page 4 of 27 PageID: 306




  Elliott v. Kiesewetter,
           98 F.3d 47 (3d Cir. 1996) ...................................................................................................... 13

  Ferring Pharms., Inc. v. Watson Pharmaceuticals, Inc.,
          765 F.3d 205 (3d Cir. 2014) ................................................................................................... 4

  Fischer v. Federal Express Corp.,
         42 F.4th 366 (3d Cir. 2022) ..................................................................................................... 7

  Flair International Corp. v. Heisler,
          173 F.3d 844, 1999 WL 132181(2d Cir. 1999) .................................................................... 14

  Golden Fortune Import & Export Corp. v. Mei-Xin Ltd.,
        Nos. 22-1710 & 22-1885, 2022 WL 3536494 (3d Cir. Aug. 5, 2022) ............................... 11

  Hemi Group, LLC v. City of New York,
        559 U.S. 1 (2010) ...................................................................................................... 13, 15, 16

  Hoxworth v. Blinder, Robinson & Co., Inc.,
       903 F.2d 186 (3d Cir. 1990) .................................................................................................. 12

  In re Blockfi, Inc.,
          No. 22-19361, 2023 WL 5597165 (Bankr. D.N.J. Aug. 29, 2023) ..................................... 17

  In re Diet Drugs Products Liability Litigation,
          282 F.3d 220 (3d Cir. 2002) ................................................................................................... 4

  In re Mallinckrodt PLC,
         638 B.R. 57 (Bankr. D. Del. 2021) ....................................................................................... 13

  Jackson v. Murphy,
         No. 23-CV-23183, 2024 WL 111025 (D.N.J. Jan. 10, 2024) ............................................. 11

  Knopick v. UBS Financial Services, Inc.,
        121 F. Supp. 3d 444 (E.D. Pa. 2015) .................................................................................... 15

  Laurel Gardens, LLC v. Mckenna,
         948 F.3d 105 (3d Cir. 2020) .................................................................................................... 7

  Miller Yacht Sales, Inc. v. Smith,
         384 F.3d 93 (3d Cir. 2004) ...................................................................................................... 5

  New Earthshell Corp. v. Lycos Internet Ltd.,
        No. 14-CV-7665, 2015 WL 170564 (D.N.J. Jan. 12, 2015) ................................................ 4

  New Jersey Performing Arts Center Corp. v. ZMAN Time Productions, Inc.,
        No. 17-CV-2901, 2018 WL 814051 (D.N.J. Feb. 9, 2018) ................................................... 9




                                                                       - iii -
Case 2:24-cv-08521-BRM-CLW                          Document 31                Filed 09/13/24              Page 5 of 27 PageID: 307




  New Jersey Regional Council of Carpenters v. D.R. Horton, Inc.,
        No. 08-CV-1731, 2011 WL 4499276 (D.N.J. Sept. 27, 2011)............................................ 17

  Newton AC/DC Fund L.P. v. Hector DAO,
        No. 24-CV-722, 2024 WL 580182 (D.N.J. Feb. 1, 2024) ................................................... 12

  O’Connor v. Sandy Lane Hotel Co.,
        496 F.3d 312 (3d Cir. 2007) .................................................................................................... 6

  Oki Semiconductor Company v. Wells Fargo Bank,
         298 F.3d 768, 771 (9th Cir. 2002) ...................................................................................15, 16

  Read v. Profeta,
         397 F. Supp. 3d 597 (D.N.J. 2019) ....................................................................................... 17

  Reckling v. Okechuku,
         No. 07-CV-1699, 2007 WL 2473831 (D.N.J. Aug. 27, 2007) .............................................. 9

  Reilly v. City of Harrisburg,
           858 F.3d 173 (3d Cir. 2017) ................................................................................ 4, 12, 13, 19

  Roe v. Healey,
         78 F.4th 11 (1st Cir. 2023)..................................................................................................... 16

  Scalise v. Beech Aircraft Corp.,
          276 F. Supp. 58 (E.D. Pa. 1967) ........................................................................................... 10

  Schiermeyer v. Thurston,
         697 F. Supp. 3d 1265 (D. Utah 2023) ................................................................................... 13

  Schrager v. Aldana,
        542 F. App’x 101 (3d Cir. 2013) ........................................................................................... 15

  Sea Salt, LLC v. TD Bank, NA,
         No. 2:20-CV-99, 2020 WL 7265854 (D. Me. Dec. 10, 2020) ............................................ 19

  See Bristol-Myers Squibb Co. v. Superior Court of California,
         582 U.S. 255 (2017) ................................................................................................................. 7

  See M.H. ex rel. C.H. v. Omegle.com LLC,
        No. 20-CV-11294, 2021 WL 1050234 (D.N.J. Mar. 19, 2021) ............................................ 6

  Sharp v. Kean University,
          153 F. Supp. 3d 669 (D.N.J. 2015) ........................................................................................ 5

  Shaw v. Vircurex,
         No. 18-CV-67, 2019 WL 2636271 (D. Colo. Feb. 21, 2019) ............................................... 7




                                                                        - iv -
Case 2:24-cv-08521-BRM-CLW                              Document 31                  Filed 09/13/24                Page 6 of 27 PageID: 308




  Sierra v. Trafigura Trading LLC,
          No. 22-CV-366, 2024 WL 3823018 (D. Del. Aug. 18, 2024)............................................... 9

  Simplot India LLC v. Himalaya Food International Ltd.,
         No. 23-CV-1612, 2024 WL 1136791 (D.N.J. Mar. 15, 2024) .............................................. 6

  Snowdy v. Mercedes-Benz USA, LLC,
        No. 23-CV-1681, 2024 WL 1366446 (D.N.J. Apr. 1. 2024)............................................... 18

  Vita-Pure, Inc. v. Bhatia,
         No. 2:14-CV-7831, 2015 WL 1496396 (D.N.J. Apr. 1, 2015) ........................................... 12

  Walden v. Fiore,
        571 U.S. 277 (2014) ................................................................................................................. 7

  Zangara v. National Board of Medical Examiners,
         No. 22-1559, 2023 WL 2868223 (D.N.J. Apr. 6, 2023) ....................................................... 4

  Zavala v. Wal-Mart Stores, Inc.,
         447 F. Supp. 2d 379 (D.N.J. 2006) ....................................................................................... 17

  STATUTES

  18 U.S.C. § 1962................................................................................................................................. 16

  18 U.S.C. § 1964 ................................................................................................................................. 13

  Fla. Stat. § 48.031 ................................................................................................................................. 8

  Fla. Stat. § 48.062 ................................................................................................................................. 8

  RULES

  Fed. R. Civ. P. 4 ................................................................................................................................5, 8

  N.J. Ct. R. 4:4-4 .................................................................................................................................... 8

  TREATISES

  36 Am. Jur. 2d Foreign Corporations § 463 ....................................................................................... 9




                                                                              -v-
Case 2:24-cv-08521-BRM-CLW           Document 31        Filed 09/13/24      Page 7 of 27 PageID: 309




                                         INTRODUCTION

         Plaintiff David Gonzalez alleges that, in 2021, an unidentified hacker stole his

  cryptocurrency assets from a non-party crypto exchange, Coinbase, and then deposited those assets

  with Binance, a cryptocurrency exchange operated by Defendant Binance Holdings, Ltd. (“BHL”).

  Three years later, Plaintiff has moved for a preliminary injunction against BHL, its founder

  Changpeng Zhao, and a third Defendant, BAM Trading Services, Inc. (“BAM”), asking this Court

  to immediately freeze certain cryptocurrency assets and transfer them to Plaintiff. Plaintiff’s

  motion can be easily denied for three reasons: (1) he has not satisfied the threshold requirements

  of personal jurisdiction; (2) he has not addressed the deficiencies the Court identified when it sua

  sponte denied his request for a temporary restraining order (“TRO”); and (3) he has not met any

  of the required elements of the “extraordinary remedy” of preliminary injunctive relief.

         As an initial matter, Plaintiff failed to carry his burden to establish personal jurisdiction,

  which requires both proper service of process and constitutionally sufficient minimum contacts.

  Plaintiff failed to serve both BHL and Mr. Zhao, delivering the summons and complaint only to

  agents and employees of BAM, a separate company. Plaintiff also failed to plead a plausible basis

  for jurisdiction because Mr. Zhao is a foreign citizen domiciled abroad, and BHL is a foreign

  company with no U.S. offices. And Plaintiff has not alleged sufficient contacts to establish

  personal jurisdiction in the State of New Jersey. Indeed, neither BHL nor Mr. Zhao is alleged to

  have done anything in New Jersey that has any relation to Plaintiff’s claims.

         Even if Plaintiff cleared this threshold hurdle (and he has not), he failed to establish

  irreparable harm. The Court sua sponte denied Plaintiff’s request for a TRO because he did not

  identify any imminent threat; nothing has changed since the Court’s ruling. Moreover, as the Court

  likewise found, Plaintiff’s claims are compensable by money damages, and thus he cannot satisfy

  the irreparable harm requirement. In any event, Plaintiff cannot show a likelihood of success on


                                                 -1-
Case 2:24-cv-08521-BRM-CLW            Document 31        Filed 09/13/24      Page 8 of 27 PageID: 310




  the merits. Plaintiff brings claims of conversion, aiding and abetting conversion, unjust

  enrichment, and civil RICO. The thrust of each claim is the same: if BHL had more stringent

  transaction monitoring protocols, it could have somehow prevented the unidentified hacker(s)

  from stealing Plaintiff’s assets from the separate crypto exchange Coinbase, or that the unidentified

  party’s theft would have been detected and somehow ameliorated after the fact. Defendants’

  complete lack of involvement in the alleged theft dooms each of his claims: conversion requires

  the “wrongful control” of property; unjust enrichment requires a “direct relationship” between the

  plaintiff and defendant; and civil RICO requires “direct” causation.

         Finally, the balance of harms and public interest weigh decidedly against a preliminary

  injunction. The type of extraordinary relief Plaintiff seeks—seizing assets based on minimal

  evidence and without notice to those assets’ owners—is unfair to the owners of those assets and,

  if routinely granted, would be highly disruptive to financial exchanges in the crypto sector and

  beyond, with no benefit to the public.

                                           BACKGROUND

  I.     Plaintiff’s Allegations

         Plaintiff commenced this action against Defendants BHL; BAM; Mr. Zhao; and the

  unknown hacker(s), named as “XYZ Corp. Inc. (1–100)” and “John Does (1–100).” (ECF 1

  (“Compl.”) ¶¶ 8–10, 17.) Plaintiff brings claims against all Defendants for conversion, aiding and

  abetting conversion, unjust enrichment, and civil RICO. (See generally id.)

         Plaintiff’s claims arise from the same event: on or around May 8, 2021, he allegedly

  discovered that an unknown hacker had stolen cryptocurrency from his account with Coinbase, a

  crypto exchange unaffiliated with Defendants. (Id. ¶ 80.) Due to the “public nature of blockchain,”

  Plaintiff allegedly discovered that the hacker “deposited his cryptocurrency with Defendants.” (Id.

  ¶ 83.) Plaintiff alleges that, at unidentified times and through unidentified means, he demanded


                                                  -2-
Case 2:24-cv-08521-BRM-CLW              Document 31         Filed 09/13/24   Page 9 of 27 PageID: 311




  Defendants return his cryptocurrency, but “to no avail.” (Id. ¶ 84.) In support of his allegations,

  Plaintiff attached “Exhibit A” (ECF 9-1), which is purportedly proof of his blockchain ledger

  tracing and “his deposit of funds from his Chase bank account into Coiinbase [sic].” (Compl.

  ¶ 4 n.2.) The exhibit appears to be a Google document titled “AbolisherWalletHack” and purports

  to show various cryptocurrency transactions. (ECF 9-1.)

  II.     Procedural Background

          Plaintiff commenced this action on August 18, 2024, more than three years after Plaintiff

  purportedly discovered the theft of his cryptocurrency from Coinbase. (Compl.) He attempted to

  serve BHL through BAM’s registered agent in New Jersey (ECF 5, 7), and attempted to serve Mr.

  Zhao through a “clerk” at BAM’s business address in Florida (ECF 11.)

          The same day Plaintiff filed the Complaint, he also filed a motion for a TRO and

  preliminary injunction. (ECF No 2-1 (“Mot.”).) Plaintiff claimed that his three-year-old claims

  raised “emergent” issues, and sought to “prohibit[] the transfer of assets” stolen in May 2021 and

  to “transfer the assets . . . to [his] account.” (Mot. at 2.)

          The following day, August 19, the Court sua sponte denied Plaintiff’s motion for a TRO.

  (ECF 4 (“TRO Order”).) The Court explained that Plaintiff had failed to show that “he faces

  impending irreparable harm if the requested injunctive relief is denied.” (Id. at 3.) According to

  the Court, although Plaintiff speculated that the crypto assets might imminently disappear, he did

  not “allege any presently existing threat” of that happening “nor point to any evidence indicating

  how and when this purported loss may occur.” (Id.) The Court further noted that Plaintiff failed to

  explain why he waited three years from the theft to bring the application and, moreover, that harms

  “compensable in money . . . cannot satisfy the irreparable injury requirement.” (Id. (citation

  omitted).) Upon the Court’s directions (id. at 4–5), Plaintiff attempted to serve copies of the order




                                                     -3-
Case 2:24-cv-08521-BRM-CLW             Document 31        Filed 09/13/24      Page 10 of 27 PageID:
                                             312



 denying the TRO on Mr. Zhao and BHL, but did so improperly, attempting service only on an

 employee at BAM’s Florida office. (ECF 10, 12.)

                                           ARGUMENT

         Preliminary injunctive relief is an “extraordinary remedy, which should be granted only in

 limited circumstances.” Ferring Pharms., Inc. v. Watson Pharms., Inc., 765 F.3d 205, 210 (3d Cir.

 2014) (quotation marks omitted). Parties seeking a preliminary injunction must demonstrate that

 they are “more likely than not to suffer irreparable harm in the absence of preliminary relief” and

 have “a likelihood of success on the merits.” Reilly v. City of Harrisburg, 858 F.3d 173, 179 (3d

 Cir. 2017). If these prerequisites are met, the court will consider “the possibility of harm to other

 interested persons from the grant or denial of the injunction” and “the public interest.” Id. at 176

 (citation omitted). 1

 I.      Plaintiff Fails to Clear the Threshold Hurdle of Establishing Personal Jurisdiction
         Over Mr. Zhao or BHL

         Personal jurisdiction is a threshold issue that “the Court must address before . . .

 addresses[ing] the merits of the preliminary injunction.” Zangara v. Nat’l Bd. Of Med. Examiners,

 No. 22-CV-1559, 2023 WL 2868223, at *4 (D.N.J. Apr. 6, 2023) (emphasis added) (citing In re

 Diet Drugs Prods. Liab. Litig., 282 F.3d 220, 229-30 (3d Cir. 2002)); see also New Earthshell

 Corp. v. Lycos Internet Ltd., No. 14-CV-7665, 2015 WL 170564, at *2 (D.N.J. Jan. 12, 2015)

 (similar). To establish personal jurisdiction, Plaintiff bears the burden of showing both that



 1  This already high standard is even higher where, as here, “the plaintiff is asking the Court to
 order an affirmative act rather than a stay to maintain the status quo.” Beacon Sales Acquisition,
 Inc. v. Bd. of Trustees, 425 F. Supp. 3d 377, 385 (D.N.J. 2019); see Bennington Foods LLC v. St.
 Croix Renaissance Grp., LLP, 528 F.3d 176, 179 (3d Cir. 2008) (“where the relief ordered by the
 preliminary injunction is mandatory and will alter the status quo, the party seeking the injunction
 must meet a higher standard of showing irreparable harm”). This heightened standard applies to
 Plaintiff’s request for the Court to affirmatively freeze and transfer crypto assets from an
 unidentified individual’s account.


                                                 -4-
Case 2:24-cv-08521-BRM-CLW             Document 31        Filed 09/13/24      Page 11 of 27 PageID:
                                             313



 Defendants have sufficient minimum contacts to provide a basis for jurisdiction, Carteret Sav.

 Bank, FA v. Shushan, 954 F.2d 141, 146 (3d Cir. 1992), and that he properly served Defendants,

 Sharp v. Kean Univ., 153 F. Supp. 3d 669, 677 n.5 (D.N.J. 2015). Plaintiff fails to make either

 showing.

        A.      Plaintiff Fails To Establish Personal Jurisdiction
        Personal jurisdiction requires the defendant to have “constitutionally sufficient ‘minimum

 contacts’ with” the forum. Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 96 (3d Cir. 2004)

 (explaining that New Jersey’s long-arm statute permits jurisdiction coextensive with due process);

 Fed. R. Civ. P. 4(k)(1)(A). Plaintiff attempts only to establish general—rather than specific—

 jurisdiction. (Compl. ¶¶ 19–20.) General jurisdiction exists only where the defendants’

 “affiliations with the State are so continuous and systematic as to render them essentially at home.”

 Daimler AG v. Bauman, 571 U.S. 117, 139 (2014) (cleaned up). For an individual defendant,

 general jurisdiction lies where he or she is domiciled. Id. at 137. For a corporate defendant, general

 jurisdiction lies in the state where the defendant is incorporated and has its principal place of

 business, absent the “exceptional case” where the defendant’s operations in another state are “so

 substantial and of such a nature as to render the corporation at home in that State.” Id. at 139 n.19.

        Plaintiff has not established general jurisdiction over Mr. Zhao or BHL. The Complaint

 alleges that Mr. Zhao is a Canadian citizen who has lived in Dubai and Paris. (Compl. ¶ 14); see

 Aldossari ex rel. Aldossari v. Ripp, 49 F.4th 236, 257 (3d Cir. 2022) (plaintiff “cites no authority

 for the assertion that a natural person who is a citizen of a foreign nation and residing there can be

 subject to general jurisdiction in the United States”). The Complaint alleges that BHL is “registered

 and [has] its principal place of business” in the Cayman Islands, and does not claim that this is an

 “exceptional case” where general jurisdiction over BHL is appropriate outside of the Cayman

 Islands. (Compl. ¶ 9.) Instead, the Complaint alleges merely that BHL “operate[d] globally” and,


                                                 -5-
Case 2:24-cv-08521-BRM-CLW             Document 31         Filed 09/13/24      Page 12 of 27 PageID:
                                             314



 by virtue of having U.S. customers, necessarily had New Jersey customers. (Id. ¶¶ 19, 44, 61.)

 This does not come close to the required showing that BHL is “at home” in New Jersey. See, e.g.,

 Daimler, 571 U.S. at 139 n.20 (“A corporation that operates in many places can scarcely be deemed

 at home in all of them.”).

        The Complaint further alleges that the Court can assert jurisdiction over BHL because it is

 “an alter ego of BAM” (Compl. ¶ 20), but—even taking that dubious assertion to be true (see,

 § I.C, infra)—Plaintiff does not allege that BAM is at home in New Jersey, either. To the contrary,

 the Complaint alleges that BAM is a Delaware corporation headquartered in Florida. (Compl. ¶ 8.)

 To the extent Plaintiff relies on BAM’s registered agent in New Jersey, courts in this District agree

 that “registering to do business here and accepting service by [a] designated agent” does not confer

 general jurisdiction. Simplot India LLC v. Himalaya Food Int’l Ltd., No. 23-CV-1612, 2024 WL

 1136791, at *9–10 (D.N.J. Mar. 15, 2024) (collecting cases).

        While Plaintiff fails to allege any theory of specific jurisdiction, any such theory would

 plainly fail. Specific jurisdiction asks whether the defendant “purposefully directed its activities at

 the forum,” and whether the claims “arise out of or relate to at least one of those activities.”

 O’Connor v. Sandy Lane Hotel Co., 496 F.3d 312, 317 (3d Cir. 2007) (cleaned up) . To satisfy the

 “relatedness” prong, it is not enough that the defendant’s activities directed at the forum are a but-

 for cause of plaintiff’s claim; “specific jurisdiction requires a closer and more direct causal

 connection.” Id. at 323.

        Plaintiff fails at both steps. First, the Complaint lacks any allegations that Mr. Zhao or

 BHL “purposefully directed” any activities at New Jersey. See M.H. ex rel. C.H. v. Omegle.com

 LLC, No. 20-CV-11294, 2021 WL 1050234, at *3 (D.N.J. Mar. 19, 2021) (“[Plaintiffs] do not

 allege anything about [defendant]’s website that is New Jersey-specific. Rather, [defendant] is a




                                                  -6-
Case 2:24-cv-08521-BRM-CLW            Document 31        Filed 09/13/24      Page 13 of 27 PageID:
                                            315



 generally accessible website that looks and operates the same for users across the world.”). Second,

 Plaintiff does not allege that his injury stemmed from either his or the hacker’s access to Binance

 in New Jersey. See Bristol-Myers Squibb Co. v. Superior Court of California, 582 U.S. 255, 264–

 644 (2017) (no specific jurisdiction where everything “giving rise to the . . . claims occurred

 elsewhere”). The only connection between this case and New Jersey is Plaintiff, but his contacts

 do not “drive the jurisdictional analysis.” Walden v. Fiore, 571 U.S. 277, 284 (2014) (rejecting

 jurisdiction over claims Nevada residents brought in Nevada federal court); see Shaw v. Vircurex,

 No. 18-CV-67, 2019 WL 2636271, at *4 (D. Colo. Feb. 21, 2019) (dismissing claims arising from

 the collapse of a crypto exchange where the “only alleged connection between defendants and

 Colorado is harm suffered by a Colorado resident”).2

        B.      Service Upon Mr. Zhao and BHL Was Improper

        Even if the Court could theoretically exercise personal jurisdiction over non-residents

 Mr. Zhao and BHL, it cannot do so here because Plaintiff failed to properly effect service of

 process. See Fischer v. Fed. Express Corp., 42 F.4th 366, 381 (3d Cir. 2022) (“For a court to

 exercise personal jurisdiction over a defendant, the defendant must be served process. . . .”); Dietz

 v. Nat’l City Mortg. Co., No. 1:08-CV-1058, 2008 WL 2857722, at *1–2 (M.D. Pa. July 21, 2008)

 (declining to consider merits of preliminary injunction where defendant was not properly served




 2
     There are limited circumstances where jurisdiction over a defendant facing a RICO claim can
 be based on nationwide contacts, rather than contacts with the forum. This is permitted only if
 there is personal jurisdiction in the forum “over at least one defendant” and the “ends of justice”
 require the other defendants’ presence in the forum. Laurel Gardens, LLC v. Mckenna, 948 F.3d
 105, 120 (3d Cir. 2020). Plaintiff has not shown either. And even if the forum for the jurisdictional
 analysis were the United States, Plaintiff has not shown that either Mr. Zhao or BHL is “at home”
 in the United States or that either did anything in the United States giving rise to the claims here.


                                                 -7-
Case 2:24-cv-08521-BRM-CLW            Document 31        Filed 09/13/24      Page 14 of 27 PageID:
                                            316



 with complaint). 3 Under Rule 4 of the Federal Rules of Civil Procedure, service may be effectuated

 in the United States by: (1) following the requirements enumerated in Rule 4; or (2) following state

 law for serving summons in the state “where the district court is located or where service is made.”

 Fed. R. Civ. P. 4(e)(1).

        With respect to Mr. Zhao, an individual defendant, service in the United States must be

 effectuated by “personally” delivering the complaint and summons; leaving copies at the

 individual’s “dwelling or usual place of abode with someone of suitable age and discretion who

 resides there;” or via “an agent authorized by appointment or by law” for service. Fed. R. Civ. P.

 4(e); see N.J. Ct. R. 4:4-4 (similar); Fla. Stat. § 48.031 (similar, with no agent provision).

 Plaintiff’s effort to serve Mr. Zhao at BAM’s address in Florida (ECF 11, 12), is plainly deficient.

 BAM’s Florida office is not Mr. Zhao’s “dwelling or usual place of abode,” and there is no

 evidence that BAM’s “clerk” was authorized by Mr. Zhao to accept service of process for him.

        Likewise deficient is Plaintiff’s effort to serve BHL through BAM’s registered agent in

 New Jersey (ECF 5, 7), and a “clerk” at BAM’s business address in Florida.4 (ECF 10.) See Fed.

 R. Civ. P. 4(b) (service on unincorporated entity via “officer, a managing or general agent, or any

 other agent authorized by appointment or by law to receive service”); N.J. Ct. R. 4:4-4(a)(5)

 (service on unincorporated entity through “an officer or managing agent”); Fla. Stat. § 48.062.

 (2019) (service on LLC through its registered agent or, in some cases, manager of a manager-

 managed LLC, member of a member-managed LLC, designated employee, or “person in charge”



 3 While Rule 65(a) permits the issuance of a preliminary injunction on “notice,” this Court should
 decline to rule on the merits of the preliminary injunction absent personal jurisdiction over
 Defendants. See Dietz, 2008 WL 2857722, at *1–2.
 4
    Plaintiff’s attempted service on BHL in Florida is additionally defective because he did not
 serve copies of the complaint and summons, but merely copies of the “Orders” in this case. (ECF
 10.) See Fed. R. Civ. P. 4(c)(1).


                                                -8-
Case 2:24-cv-08521-BRM-CLW              Document 31        Filed 09/13/24    Page 15 of 27 PageID:
                                              317



 of the LLC). Plaintiff does not contend that BHL authorized the people who received the papers

 to accept service on its behalf, nor could he (see Alor Decl. ¶¶ 4–6), and the Court therefore lacks

 jurisdiction over BHL as well.

          C.     Unsupported Alter Ego Allegations Cannot Resuscitate Plaintiff’s Deficient
                 Service Upon BHL

          In an attempt to excuse this clearly ineffective service, Plaintiff claims that BAM and BHL

 are alter egos, such that service on BAM should be imputed to BHL. (Compl. ¶¶ 21–41.)5 But

 Plaintiff does not come close to the stringent showing required to prove alter ego status. The

 question of whether to “pierce the corporate veil” of a company to reach its owners is governed by

 that company’s state of incorporation, New Jersey Performing Arts Center Corp. v. ZMAN Time

 Prods., Inc., No. 17-CV-2901, 2018 WL 814051, at *6 (D.N.J. Feb. 9, 2018), which is Delaware

 for BAM (Compl. ¶ 8). Under Delaware law, the distinction between corporations is disregarded

 only in the “exceptional circumstances” where a “parent company abuses its position to the point

 where the subsidiary had no separate mind, will or existence of its own.” Sierra v. Trafigura

 Trading LLC, No. 22-CV-366, 2024 WL 3823018, at *10 (D. Del. Aug. 18, 2024) (citations

 omitted).

          For “service of process on [the subsidiary] . . . to give adequate notice to the parent

 corporation,” Dewey v. Volkswagen AG, 558 F. Supp. 2d 505, 514 n.3 (D.N.J. 2008) (quotation

 omitted), the two companies must be alter egos at the time of service. See Reckling v. Okechuku,

 No. 07-CV-1699, 2007 WL 2473831, at *5 (D.N.J. Aug. 27, 2007) (proper service turned on

 whether the person served was an “agent at the time he accepted service on [the individual’s]

 behalf”) (emphasis added); 36 Am. Jur. 2d Foreign Corporations § 463 (validity of service on




 5
     Plaintiff does not allege alter ego status as to Mr. Zhao.


                                                   -9-
Case 2:24-cv-08521-BRM-CLW            Document 31       Filed 09/13/24      Page 16 of 27 PageID:
                                            318



 alleged corporate agent “is determined by the relation of the person to the corporation at the time

 of the service of process,” not relationships during “any other period”). Thus, “when the person

 served is not the alter ego of the defendant at the time of the attempted service of process, the

 attempted service is ineffectual.” Scalise v. Beech Aircraft Corp., 276 F. Supp. 58, 63 (E.D. Pa.

 1967) (emphasis added).

        Plaintiff’s alter ego theory concerns only BAM’s founding in 2019 and the years

 immediately thereafter, with the most recent allegations relating to June 2023.6 These outdated

 allegations say nothing about BAM and BHL’s relationship in August 2024, the time of service,

 and hence are irrelevant. This is particularly so because BHL and Mr. Zhao entered plea

 agreements with the government in November 2023. As part of its plea agreement, BHL

 overhauled its corporate operations entirely by, among other things, agreeing to select a new CEO,

 implement compliance programs, and to be subjected to an independent monitor for three years.

 (Michael Decl. Ex. 1, at 6, 8–10.) At the same time, Mr. Zhao stepped down from any role with

 BHL or BAM. (Id. at 9; see also Michael Decl. Ex. 2 (Nov. 21, 2023 Agreement between Zhao

 and BAM) (granting another individual the “full power to represent [Zhao’s] voting interest as the

 sole shareholder of [BAM]” and to “service as proxy for, and a designated representative of”

 BAM).) The Complaint’s allegations, which focus on how Mr. Zhao ran the businesses of BHL in

 the past (see, e.g., Compl. ¶¶ 21, 32, 38), shed no light on the relationship between BAM and BHL


 6  See Compl. ¶ 22 (actions during BAM’s founding); ¶ 23 (strategy document from 2018); ¶ 24
 (influence on BAM’s “strategy, launch, and early operation”); ¶ 31 (actions “related to the launch
 of [BAM]”); ¶ 34 (discussions on the day “the BAM platform was announced”); see also id. ¶¶ 25,
 39 (transfers in “the first three months of 2021” and June 2020); ¶ 30 (audit conducted in October
 2020); ¶ 32 (expenses in January 2020 and January 2021); ¶¶ 33, 35 (CEO’s tenure from June
 2019 to March 2021 and statement from November 2020); ¶¶ 36–37 (data and technology as of
 2021); ¶¶ 26–27 (access to bank accounts shut down and liquidated in May 2023); ¶¶ 28–29 (terms
 of service as of June 5, 2023); ¶¶ 38, 41 (signatory authority as of December and July 2021 and
 May 2023).



                                               - 10 -
Case 2:24-cv-08521-BRM-CLW             Document 31        Filed 09/13/24      Page 17 of 27 PageID:
                                             319



 in 2024. In fact, far from being alter egos, the two companies have separate boards of directors,

 separate management, and separate finances. (Alor Decl. ¶ 7.) Neither controls the operations of

 the other. (Id.)7

 II.     Plaintiff Fails to Show That He Is Likely to Suffer Irreparable Harm

         To establish irreparable harm, a plaintiff must identify a harm that is “imminent, probable,

 and of such irreversible character that prospective relief would be inadequate to make the movant

 whole.” Jackson v. Murphy, No. 23-CV-23183, 2024 WL 111025, at *1 (D.N.J. Jan. 10, 2024)

 (citation omitted). “The mere ‘risk of irreparable harm is not enough.’” Golden Fortune Imp. &

 Exp. Corp. v. Mei-Xin Ltd., Nos. 22-1710 & 22-1885, 2022 WL 3536494, at *5 (3d Cir. Aug. 5,

 2022) (quoting ECRI v. McGraw-Hill, Inc., 809 F.2d 223, 226 (3d Cir. 1987)). In denying

 Plaintiff’s TRO, the Court already found that he failed to meet this burden; nothing has changed

 since that decision.

         As before, Plaintiff claims that he faces the risk of “further dissipation of [his]

 cryptocurrency or the proceeds thereof.” (Mot. at 23.) But Plaintiff offers no evidence or

 supporting allegations for this bare assertion—his Complaint does not even mention the risk of

 dissipation. (See TRO Order at 3 (“[Plaintiff ]does not allege any presently existing threat nor point

 to any evidence indicating how and when this purported loss may occur.”).) Mere “speculat[ion]

 that Defendants may dissipate the funds” is insufficient to establish irreparable harm. Clemente v.


 7  For avoidance of doubt, BHL disputes that it was the alter ego of BAM at any point, and courts
 have rejected this same argument in the past. Gadasalli v. Bulasa, No. 4:22-CV-249, 2023 WL
 3586424, at *3 (E.D. Tex. May 22, 2023) (rejecting argument that BAM is Binance’s alter ego);
 Reynolds v. Binance Holdings Ltd., 481 F. Supp. 3d 997, 1004 (N.D. Cal. 2020) (same). The
 Complaint’s allegations are largely founded on Mr. Zhao and BHL’s plea agreements, which
 describe BHL’s operations apart from, rather than through or on behalf of, BAM. (Michael Decl.
 Ex. 1, at Attachment A, pg. 12 ¶ 37 (describing operations on Binance platform, separate and apart
 from BAM).) Nothing in Mr. Zhao or BHL’s plea admits that BHL is BAM’s alter ego. The
 underlying conduct centered on enabling certain U.S.-connected customers to trade on the Binance
 platform. This has nothing to do with asserting improper control over BAM. (See, e.g., id.)


                                                 - 11 -
Case 2:24-cv-08521-BRM-CLW            Document 31        Filed 09/13/24      Page 18 of 27 PageID:
                                            320



 Doe, No. 24-CV-314, 2024 WL 384713, at *3–4 (D.N.J. Feb. 1, 2024); see also Hoxworth v.

 Blinder, Robinson & Co., Inc., 903 F.2d 186, 197 (3d Cir. 1990) (holding that “one conclusory

 affidavit” from the plaintiff claiming “that the defendant can easily make away with or transport

 his money or goods” is insufficient to show irreparable harm (citation omitted)). Nor has Plaintiff

 explained why, if the risk of dissipation was imminent, he waited to bring this motion until “more

 than three years” after the alleged theft. (TRO Order at 3); see Vita-Pure, Inc. v. Bhatia, No. 2:14-

 CV-7831, 2015 WL 1496396, at *4 (D.N.J. Apr. 1, 2015) (explaining that even a “several month

 delay in bringing a preliminary injunction motion can undermine an asserted claim of imminent,

 irreparable harm” (collecting cases)).

        Even if Plaintiff could show that he faces imminent harm, he still could not show that the

 harm would be irreparable because harms “compensable in money . . . cannot satisfy the

 irreparable injury requirement.” (TRO Order at 3 (quoting Frank’s GMC Truck Ctr. v. Gen. Motors

 Corp., 847 F.2d 100, 102–03 (3d Cir. 1988)); see also Reilly, 858 F.3d at 179 n.4 (the “availability

 of money damages for an injury typically will preclude a finding of irreparable harm”). Here, the

 Complaint, which seeks “actual and compensatory damages,” provides a concrete number—$30

 million—for the peak value of stolen tokens, and Plaintiff’s brief confirms that he seeks to hold

 Defendants liable for that numerical “value.” (Compl. ¶ 85 & pg. 50; Mot. at 22.) Plaintiff offers

 no reason why these potential damages could not be readily calculated or collected. Because

 Plaintiff’s claims are, if proven, compensable by money, there is no irreparable harm as a matter

 of law. See Newton AC/DC Fund L.P. v. Hector DAO, No. 24-CV-722, 2024 WL 580182, at *3

 (D.N.J. Feb. 1, 2024) (refusing to freeze cryptocurrency assets because the plaintiff made no

 showing that defendants “would not be able to pay an award after trial”); Schiermeyer v. Thurston,

 697 F. Supp. 3d 1265, 1273 (D. Utah 2023) (denying injunctive relief because plaintiff had “not




                                                - 12 -
Case 2:24-cv-08521-BRM-CLW             Document 31        Filed 09/13/24      Page 19 of 27 PageID:
                                             321



 provided any evidence that [the defendant] lacks enough other resources to compensate” the stolen

 cryptocurrency); see also Elliott v. Kiesewetter, 98 F.3d 47, 58 (3d Cir. 1996) (explaining that

 freezing assets is an “extraordinary measure[]” reserved for only an “extraordinary case”).

 III.   Plaintiff Fails to Show He Is Likely to Succeed on Any of His Claims

        Even if Plaintiff established personal jurisdiction, and even if he established irreparable

 harm, his motion should still be dismissed for failure to establish a likelihood of success on the

 merits. Reilly, 858 F.3d at 179.

        A.      Plaintiff Is Not Likely to Succeed on His RICO Claims

                1.      Plaintiff Has Not Met RICO’s Causation Requirement

        RICO § 1964(c) creates a private right of action for “[a]ny person injured in his business

 or property by reason of a violation of section 1962 of this chapter.” 18 U.S.C. § 1964(c) (emphasis

 added). Under this standard, the predicate offense must be both the actual (but-for) cause and the

 proximate cause of the injury. Hemi Grp., LLC v. City of New York, 559 U.S. 1, 9 (2010). To

 establish “but-for” causation, the plaintiff must “identify [a] specific” injury that he would not

 have suffered “but for the alleged fraudulent scheme.” In re Mallinckrodt PLC, 638 B.R. 57, 77

 (Bankr. D. Del. 2021). Proximate causation is a higher standard, which “requires ‘some direct

 relation between the injury asserted and the injurious conduct alleged.’” Hemi Grp., 559 U.S. at

 9 (quoting Holmes v. Secs. Inv’r Prot. Corp., 503 U.S. 258, 268 (1992)). “A link that is ‘too

 remote,’ ‘purely contingent,’ or ‘indirec[t]’ is insufficient.” Id. (quoting Holmes, 503 U.S. at 274).

 A RICO plaintiff generally fails to plead proximate causation if his or her injury is more than one

 step removed from the alleged predicate act. See id. at 10 (in RICO cases, the law generally does

 not “go beyond the first step”). Plaintiff falls far short of alleging either but-for or proximate

 causation.




                                                 - 13 -
Case 2:24-cv-08521-BRM-CLW             Document 31        Filed 09/13/24      Page 20 of 27 PageID:
                                             322



        Although courts generally resolve RICO cases under the statute’s more demanding

 proximate cause standard, Plaintiff’s claim relies on a series of speculative assumptions that fail

 to even adequately allege but-for causation. Plaintiff attempts to tie his injury to Defendants’

 alleged predicate acts through convoluted inferences, many resting on pure conjecture:

        1.      Defendants failed to register BHL as a money transmitting business or to
                implement adequate anti-money laundering (“AML”) policies.
        2.      If BHL had registered as a money transmitting business and implemented
                adequate AML policies, BHL would have properly vetted customers and
                flagged suspicious transactions.
        3.      If BHL had properly vetted customers and flagged suspicious transactions,
                it would have rejected the hacker’s attempt to deposit Plaintiff’s digital
                assets and instead flagged those accounts.
        4.      If BHL had flagged the account or transaction of the hacker, BHL would
                have reported the transaction to U.S. law enforcement and frozen the
                hacker’s account.
        5.      If BHL had reported those transactions, U.S. law enforcement would have
                investigated these reports.
        6.      If U.S. law enforcement had investigated the reports, it would have engaged
                in a series of steps resulting in the cryptocurrency assets somehow being
                returned to Plaintiff.

        Plaintiff’s multi-step causal “chain” is riddled with logical fallacies. The Complaint does

 not plausibly allege what hypothetical AML policy Defendants would have implemented, how that

 policy would have prevented the specific hacker from depositing the assets on Binance, or whether

 U.S. law enforcement would have investigated—or taken action against—the hacker.

        More fundamentally, even the most effective AML policies on Binance would not have

 prevented the hacker from stealing Plaintiff’s funds from Coinbase. Plaintiff was injured well

 before Defendants’ alleged lack of AML policies came into the picture. See Flair Int’l Corp. v.

 Heisler, 173 F.3d 844, 1999 WL 132181, at *3 (2d Cir. 1999) (“[A]s [the alleged predicate act]

 postdated the alleged losses, it could not have been even a ‘but-for’ cause of those losses, let alone

 their proximate cause.”). While the Complaint suggests that Defendants’ allegedly ineffective



                                                 - 14 -
Case 2:24-cv-08521-BRM-CLW             Document 31         Filed 09/13/24      Page 21 of 27 PageID:
                                             323



 AML policy “encouraged” thieves to steal cryptocurrency and purportedly turned Binance into a

 “hub and magnet for criminals” (Compl. ¶¶ 65, 143(a)), this is pure speculation. Failing to

 implement an AML policy does not make Defendants the but-for cause of every possible crypto-

 related crime.

        Even if Plaintiff had adequately alleged but-for causation, proximate causation is a higher

 bar that readily forecloses his claim. In analyzing proximate cause, courts consider “(1) the

 directness of the injury; (2) the ease of apportioning damages among other plaintiffs affected by

 the alleged violation; and (3) the possibility that others, more directly injured, could vindicate the

 claim.” Schrager v. Aldana, 542 F. App’x 101, 104 (3d Cir. 2013).

        First, Plaintiff’s injury is many steps removed from Defendants’ alleged predicate offenses.

 Plaintiff’s injury was caused “not just [by] separate actions, but separate actions carried out by

 separate parties.” Hemi Grp., 559 U.S. at 11 (emphasis in original). Courts reject RICO claims on

 proximate causation grounds where a third-party is a more direct cause of the alleged harm. See,

 e.g., id. (rejecting RICO claim for a retailer’s failure to provide information that allegedly caused

 the state to lose tax revenues, because the resident’s failure to pay taxes was the direct cause of the

 injury); Knopick v. UBS Fin. Servs., Inc., 121 F. Supp. 3d 444, 461–62 (E.D. Pa. 2015) (rejecting

 RICO claim against defendant who fraudulently induced plaintiff to enter into an investment

 opportunity, because non-parties’ “reckless investing and . . . subsequent margin loan calls” were

 the direct causes of his harm).

        The Ninth Circuit’s closely analogous decision in Oki Semiconductor Company v. Wells

 Fargo Bank is directly on point. There, a victim of armed robbery sued a bank under RICO,

 alleging a bank employee’s laundering of proceeds from the armed robbery caused his harm. 298

 F.3d 768, 771 (9th Cir. 2002). The Ninth Circuit rejected the argument, holding that “[t]he direct




                                                 - 15 -
Case 2:24-cv-08521-BRM-CLW            Document 31        Filed 09/13/24      Page 22 of 27 PageID:
                                            324



 and proximate cause of [plaintiff’s] loss was not [the employee’s] money laundering . . . ; it was

 theft.” 298 F.3d at 774. Because the plaintiff’s allegations established, “at most, that [the

 employee] laundered the proceeds after the Conspiracy stole the semiconductors and sold them,”

 the money laundering lacked a direct relationship to the armed robbery. Id. (emphasis in original).

 This was true even though the defendant’s employee knew about the armed robbery and provided

 support for it. See id. Here, the case for proximate causation is substantially weaker, given that

 Plaintiff cannot plausibly allege that Defendants knew about or supported the specific scheme that

 stole his money.

        Second, the United States, the direct victim of the alleged predicate acts, has vindicated the

 law here through its November 2023 resolutions with Defendants. Courts frequently find

 proximate cause inadequately alleged where another entity, such as the government, is better

 positioned to enforce the law and hold the appropriate parties accountable. See, e.g., Hemi Grp.,

 559 U.S. at 12 (State of New York was better positioned to sue, as the direct victim of tax fraud);

 Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 458–61 (2006) (same); see also Roe v. Healey, 78

 F.4th 11, 27–28 (1st Cir. 2023) (collecting cases rejecting RICO claims because the United States

 was a more direct victim of the alleged violations). RICO does not permit duplicative relief for

 legal violations that the government is better positioned to enforce and, here, has enforced.

                2.      The Complaint Fails to Allege a Distinct “Enterprise”

        Plaintiff’s RICO claim also requires him to identify a “person” who “conduct[ed]” the

 affairs of an “enterprise” through a pattern of racketeering activity.” 18 U.S.C. § 1962(c). “[T]he

 ‘person’ charged with violation of § 1962(c) must be distinct from the “enterprise.” Brittingham

 v. Mobil Corp., 943 F.2d 297, 301 (3d Cir. 1991). Here, Plaintiff alleges that all three Defendants

 (the RICO “persons”) are the “enterprise.” (Compl. ¶¶ 118–19, 124.) Courts in this District

 regularly reject claims for violating RICO’s distinctiveness requirement in this manner. See Digital


                                                - 16 -
Case 2:24-cv-08521-BRM-CLW             Document 31        Filed 09/13/24      Page 23 of 27 PageID:
                                             325



 Wholesale of New York, LLC v. Am. Eagle Trading Grp., LLC, No. 16-CV-3487, 2016 WL

 5660462, at *4 (D.N.J. Sept. 29, 2016) (“[T]he enterprise is the same as the person, and the RICO

 claim must be dismissed”); New Jersey Reg’l Council of Carpenters v. D.R. Horton, Inc., No. 08-

 CV-1731, 2011 WL 4499276, at *9 (D.N.J. Sept. 27, 2011) (“Pursuant to the distinctness

 requirement, [the alleged persons] cannot also constitute the enterprise”); Zavala v. Wal-Mart

 Stores, Inc., 447 F. Supp. 2d 379, 383 (D.N.J. 2006) (“If the members of the enterprise are the

 same as the persons, the distinctness requirement has not been met, as the ‘person’ and the

 ‘enterprise’ must not be identical.”). Given this, Plaintiff cannot establish a likelihood of success

 on his RICO claim.

        B.      Plaintiff Is Not Likely to Succeed on His Conversion Claims

        Plaintiff’s claims for conversion and aiding and abetting conversion are meritless. First,

 New Jersey—like many other states—limits conversion to tangible property, but Plaintiff asserts

 conversion claims to recover intangible cryptocurrency. Read v. Profeta, 397 F. Supp. 3d 597, 641

 (D.N.J. 2019) (“[T]his District has consistently interpreted New Jersey law to limit conversion to

 tangible property.”); see also In re Blockfi, Inc., No. 22-19361, 2023 WL 5597165, at *3 (Bankr.

 D.N.J. Aug. 29, 2023) (classifying bitcoin as a “general intangible”).

        Second, conversion is premised on the “wrongful” taking and possessing of another’s

 property. Cargill Glob. Trading v. Applied Dev. Co., 706 F. Supp. 2d 563, 578–79 (D.N.J. 2010)

 (because defendant “did nothing legally wrong . . . [plaintiff] has failed to make out a conversion

 claim”). Plaintiff does not allege that Defendants converted his crypto; rather, he asserts that

 unidentified hackers did so. This alone is fatal to Plaintiff’s conversion theory.

        Third, a party can be liable for aiding and abetting conversion when the party “knows that

 the other’s conduct constitutes a breach of duty and gives substantial assistance or

 encouragement.” Cafaro v. HMC Int’l, LLC, No. 07-CV-2793, 2009 WL 1622825, at *4 (D.N.J.


                                                 - 17 -
Case 2:24-cv-08521-BRM-CLW             Document 31        Filed 09/13/24      Page 24 of 27 PageID:
                                             326



 June 10, 2009) (quotation omitted). The Complaint is devoid of any allegation that Defendants had

 any knowledge that the hacker allegedly stole and laundered Plaintiff’s crypto assets. Nor does the

 Complaint adequately allege that defendants provided substantial assistance. Rather, as discussed

 in Section III.A.1, supra, Plaintiff relies on a dizzying set of inferences and assumptions to attempt

 to tie Defendants’ alleged lack of AML procedures to his losses.

        C.      Plaintiff Is Not Likely to Succeed on His Unjust Enrichment Claims

        Plaintiff’s unjust enrichment claim is likewise defective. To “state a claim for unjust

 enrichment under New Jersey law, a plaintiff must establish that plaintiff expected remuneration

 from the defendant at the time it performed or conferred a benefit on defendant and that the failure

 of remuneration enriched defendant beyond its contractual rights.” Argabright v. Rheem Mfg. Co.,

 258 F. Supp. 3d 470, 493 (D.N.J. 2017) (citation and alterations omitted). Critically, it is “the

 plaintiff’s (as opposed to a third party’s) conferral of a benefit on defendant which forms the basis

 of an unjust enrichment claim.” Snowdy v. Mercedes-Benz USA, LLC, No. 23-CV-1681, 2024 WL

 1366446, at *12 (D.N.J. Apr. 1. 2024) (citation omitted). Necessarily, then, “a claim for unjust

 enrichment requires a direct relationship between the parties” with respect to the benefit conferred.

 Id. (quotation omitted); see also Eli Lilly & Co. v. Roussel Corp., 23 F. Supp. 2d 460, 496 (D.N.J.

 1998) (a pharmaceutical company alleging its competitor fraudulently obtained FDA approval for

 a generic antibiotic could not state a claim for unjust enrichment because the allegedly unjust

 “benefits” were conferred by third parties—buyers of the antibiotics—and did not arise from any

 direct relationship between the two companies).

        But here, Plaintiff cannot identify any direct relationship with Defendants or any benefit

 he conferred to them. Plaintiff alleges that “Defendants unjustly enriched themselves by collecting

 transaction fees arising from the trades of cryptocurrency that was stolen from Plaintiff and

 laundered through Binance accounts.” (Mot. at 15; see also Compl. ¶ 109.) But these “benefits”


                                                 - 18 -
Case 2:24-cv-08521-BRM-CLW            Document 31        Filed 09/13/24      Page 25 of 27 PageID:
                                            327



 were conferred by a “third party” (the account holder), not by Plaintiff, who has no “direct

 relationship” with Defendants whatsoever. See Sea Salt, LLC v. TD Bank, NA, No. 2:20-CV-99,

 2020 WL 7265854, at *10 (D. Me. Dec. 10, 2020) (rejecting an unjust enrichment claim seeking

 to recover bank fees because “[e]ven if a benefit in the form of bank fees was conferred upon the

 defendants, any such benefit was conferred by [third parties], not by Plaintiff” (citation omitted)).

         Plaintiff cites no case upholding an unjust enrichment claim on remotely similar facts.

 Instead, he cites two cases where government contracts could be voided for fraud or other

 illegality; neither involved unjust enrichment claims based on the conferral of benefits from a third

 party. (Mot. at 15 (citing Manning Eng’g, Inc. v Hudson County Park Comm’n, 74 N.J. 113 (1977),

 and Driscoll v. Burlington-Bristol Bridge Co., 8 N.J. 433 (1952).)

 IV.     An Injunction Risks Private Harm and Is Not in the Public Interest

         Because Plaintiff has not established irreparable harm or a likelihood of success on the

 merits, the Court need not address the balance of harms and public interest. See Reilly, 858 F.3d

 at 176 (explaining that the court should address these factors only where “the party seeking the

 injunction meets the threshold on the first two” (citations omitted)). In any event, were the Court

 to reach these factors, they also weigh heavily against a preliminary injunction. The freezing and

 seizure of third-party funds, based solely on Plaintiff’s speculative assertions and without any

 notice to those parties, risks significant private harm. Routinely granting applications like

 Plaintiff’s would greatly disrupt financial and crypto markets, with no countervailing public

 interest.




                                                - 19 -
Case 2:24-cv-08521-BRM-CLW           Document 31        Filed 09/13/24     Page 26 of 27 PageID:
                                           328



                                         CONCLUSION

        For the stated reasons, this Court should deny the motion for preliminary injunction.

  Dated: September 13, 2024
  QUINN EMANUEL URQUHART & SULLIVAN, LLP               STEPTOE LLP

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                                              - 20 -
Case 2:24-cv-08521-BRM-CLW            Document 31       Filed 09/13/24      Page 27 of 27 PageID:
                                            329



                                 CERTIFICATE OF SERVICE

        I hereby certify pursuant to 28 USC 1746 that on this date, I filed the annexed

 Memorandum of Law and accompanying Declarations and exhibits thereto with the CM/ECF

 System for U.S. District Court of the District of New Jersey and thereby effectuating service upon

 all counsel of record via electronic means.

        I certify under the penalty of perjury that the foregoing are true and correct. Executed in

 New York, New York on this 13 th day of September, 2024.

                                                  /s/ Anthony J. Staltari
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                                               - 21 -
